Case 19-11299-LSS Doc1 Filed 06/10/19 Page 1 of 17

Fill in this information to identify your case:

|
| United States Bankruptcy Court for the:
‘ DISTRICT OF DELAWARE

Case number (if known) Chapter 11

O1 Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4i19

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, /nstructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name SportCo Holdings, Inc.

2. All other names debtor
used in the last 8 years

Include any assumed

names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

267 Columbia Ave
Chapin, SC 29036

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Lexington Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)
6. Type of debtor @ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

O) Partnership (excluding LLP)
C) Other. Specify:

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 19-11299-LSS Doc1 Filed 06/10/19 Page 2 of 17

Debtor SportCo Holdings, Inc. Case number (if known)

Name

7. Describe debtor's business A. Check one:

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy
cases filed by or against
the debtor within the fast 8
years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List alt cases, If more than 1,
attach a separate list

Official Form 201

Health Care Business (as defined in 11 U.S.C. § 101(27A))
0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
0) Railroad (as defined in 11 U.S.C. § 101(44))

1 Stockbroker (as defined in 11 U.S.C. § 101(53A))

1 Commodity Broker (as defined in 11 U.S.C. § 101(6))

O) Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check aif that apply

O Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http://www.uscourts.gov/four-digit-national-association-naics-codes.

Check one:

O Chapter 7

Chapter 9

@ Chapter 11. Check ail that apply.

Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

O1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

oo

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

Os The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O1 Chapter 12

No.
0 Yes.
District When Case number
District When Case number
01 No
B yes.
Debtor See Attachment Relationship
District When Case number, if known

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Case number (if known)

Debtor SportCo Holdings, Inc.
“Name |
11. Why is the case filed in Check aif that apply:

this district?

@ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtorownor jj,
have possession of any
real property or personal (J Yes.

property that needs
immediate attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

C1 tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

1 It needs to be physically secured or protected from the weather.

C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

O Other
Where is the property?
Number, Street, City, State & ZIP Code

Is the property insured?
C1 No
OyYes. I!nsurance agency

Contact name

Phone

i Statistical and administrative information

13. Debtor's estimation of Check one:

available funds

0] Funds will be available for distribution to unsecured creditors.

@ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of 0 1-49
creditors C0 50-99
0 100-199
I 200-999

15. Estimated Assets IB $0 - $50,000

0 $50,001 - $100,000
D0 $100,001 - $500,000
01 $500,001 - $1 million
16. Estimated liabilities O $0 - $50,000
O $50,001 - $100,000
0 $100,001 - $500,000
OJ $500,001 - $1 million

Official Form 201

0 1,000-5,000
C1 5001-10,000
QO 10,001-25,000

0 $1,000,001 - $10 million

OJ $10,000,001 - $50 million
CJ $50,000,001 - $100 million
1 $100,000,001 - $500 million

O $1,000,001 - $10 million

0 $10,000,001 - $50 million
O) $50,000,001 - $100 million
@ $100,000,001 - $500 million

Voluntary Petition for Non-Individuals Filing for Bankruptcy

0 25,001-50,000
01 50,001-100,000
OC] More than100,000

01 $500,000,001 - $1 billion

0 $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
C] More than $50 billion

0) $500,000,001 - $1 billion

0 $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
O] More than $50 billion

page 3
Case 19-11299-LSS Doc1 Filed 06/10/19 Page 4 of 17

Debtor SportCo Holdings, Inc.

Name

(ara Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up
to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

18. Signature of attorney

Official Form 201

DM_US 157330736-[.105320.0013

Case number (if known)

 

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

I have been authorized to file this petition on behalf of the debtor.

[ have examined the information in this petition and have a reasonable belief that the information is true

and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 06/10/2019
MM DD /YYYY

Bradley P. Johnson

Bradley P. Johnson

 

Signature of authorized representative of debtor

Chief Executive Officer

Printed name

 

Title

Christopher A. Ward
Signature of attorney for debtor

Christopher A. Ward

Date 06/10/2019
MM/DD/ YYYY

 

Printed Name

Polsinelli PC

 

Firm Name

222 Delaware Avenue, Suite 1101

 

Number Street

Wilmington, Delaware 19801

 

City / State / ZIP Code

(302) 252-0920

 

Contact phone

cward@polsinelli.com

 

Email address

3877 Delaware
Bar Number State

Voluntary Petition for Non-Individuals Filing for Bankruptcy
Case 19-11299-LSS Doc1 Filed 06/10/19 Page 5 of 17

Debtor = SportCo Holdings, Inc.

Name

Fill in this information to identify your case:

United States Bankruptcy Court for the:
DISTRICT OF DELAWARE

Case number (if known)

Debtor Bonitz Brothers, Inc.

District DE
Debtor Ellett Brothers, LLC
District DE

Debtor Evans Sports, Inc.
District DE
Debtor Jerry’s Sports, Inc.
District DE

Debtor Outdoor Sports Headquarters, Inc.

District DE

Debtor Quality Boxes, Inc.

District DE

Debtor Simmons Gun Specialties, Inc.
District DE

Debtor United Sporting Companies, Inc.
District DE

Chapter

Case number (if known)

11

FORM 201. VOLUNTARY PETITION

Pending Bankruptcy Cases Attachment

 

When

When

When

When

When

When

When

When

Relationship to you
Case number, if known
Relationship to you
Case number, if known
Relationship to you
Case number, if known
Relationship to you
Case number, if known
Relationship to you
Case number, if known
Relationship to you
Case number, if known
Relationship to you
Case number, if known
Relationship to you

Case number, if known

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

OO Check if this an
amended filing

Affiliate

Affiliate

Affiliate

Affiliate

Affiliate

Affiliate

Affiliate

Subsidiary

page 5
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Fill in this information to identify the case:
Debtorname SportCo Holdings, Inc.
United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

__] Check if this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors = z25

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any

amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

= Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Cl Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

_| Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

ri Schedule H: Codebtors (Official Form 206H)

ii Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

LJ

v

v|

LC)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration _List of Equity Security Holders

| declare under penalty of perjury that the foregoing is true and correct,

Executedon 06/10/2019 x Bradley P. Johnson

Signature of individual signing on behalf of debtor

Bradley P. Johnson
Printed name

Chief Executive Officer
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
SPORTCO HOLDINGS, INC.

 

June 6, 2019

The undersigned, being all of the members of the Board of Directors (the “Board”) of
SPORTCO HOLDINGS, INC., a Delaware corporation (the “Company”), hereby adopt the
following resolutions by written consent in lieu of a special meeting and hereby consent to,
approve and adopt the following resolutions as of the date written above:

WHEREAS, the Board reviewed the materials presented by the management and
legal advisers of the Company regarding the liabilities and liquidity situation of
the Company, the strategic alternatives available to the Company, and the impact
of the foregoing on the Company’s business; and

WHEREAS, the Board has had the opportunity to consult with the management
and legal advisers of the Company and fully consider each of the strategic
alternatives available to the Company.

I VOLUNTARY PETITION UNDER CHAPTER 11 OF TITLE 11 OF THE
UNITED STATES CODE

NOW, THEREFORE, IT IS RESOLVED, that, in the judgment of the Board, it
is desirable and in the best interests of the Company, its creditors, stockholders,
and other parties in interest, that the Company file or cause to be filed voluntary
petitions for relief under the provisions of chapter 11 of title 11 of the United
States Code;

FURTHER RESOLVED, that each of the Chief Executive Officer, Chief
Financial Officer, and such other officers as may be designated by the Chief
Executive Officer (collectively, the “Authorized Officers”), acting alone or with
one or more other Authorized Officers, be, and hereby is, authorized and
empowered to execute and file on behalf of the Company all petitions, schedules,
lists and other papers or documents, and to take any and all action that they deem
necessary or proper to obtain such relief;

FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and
directed to continue to employ the law firm of McDermott Will & Emery LLP as
general bankruptcy counsel to represent and assist the Company in carrying out its
duties under title 11 of the United States Code, and to take any and all actions to
advance the Company’s rights and obligations, including filing any pleadings; and
in connection therewith, each of the Authorized Officers, acting alone or with one
or more other Authorized Officers, be, and hereby is, authorized and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon filing of the chapter 11 case, and to cause to be filed an
appropriate application for authority to retain the services of McDermott Will &
Emery LLP;
Case 19-11299-LSS Doc1 Filed 06/10/19 Page 8 of 17

FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and
directed to employ the law firm of Polsinelli PC as local Delaware counsel to
represent and assist the Company in carrying out its duties under title 11 of the
United States Code, and to take any and all actions to advance the Company’s
rights and obligations, including filing any pleadings; and in connection
therewith, each of the Authorized Officers, acting alone or with one or more other
Authorized Officers, be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and
immediately upon filing of the chapter 11 case, and to cause to be filed an
appropriate application for authority to retain the services of Polsinelli PC;

FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and
directed to employ Dalton Edgecomb of Winter Harbor, LLC as the Chief
Restructuring Officer (“CRO”) of the Company to, among other things, perform
the duties as set forth in the engagement letter between United Sporting
Companies, Inc. and Winter Harbor, LLC, dated June 6, 2019; and in connection
therewith, each of the Authorized Officers, acting alone or with one or more other
Authorized Officers, be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the chapter 11 case, to cause to be filed appropriate
applications for authority to retain the services of the CRO;

FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and
directed to employ the firm of BMC Group, Inc., as notice and claims agent to
represent and assist the Company in carrying out its duties under title 11 of the
United States Code, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Authorized
Officers, acting alone or with one or more other Authorized Officers, be, and
hereby is, authorized and directed to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon the filing of the chapter
11 case, and to cause to be filed appropriate applications for authority to retain the
services of BMC Group, Inc.; and

FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and
directed to employ any other professionals to assist the Company in carrying out
its duties under title 11 of the United States Code; and in connection therewith,
each of the Authorized Officers, acting alone or with one or more other
Authorized Officers, be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the chapter 11 case and to cause to be filed an
appropriate application for authority to retain the services of any other
professionals as necessary.
I.

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GENERAL

NOW, THEREFORE, IT IS RESOLVED, that each of the Authorized Officers
shall be, and each of them hereby is, authorized and directed, in the name of and
on behalf of the Company, to take any and all such actions and to execute and
deliver any and all such documents and instruments as the Board, officers of the
Company shall deem necessary or advisable in furtherance of, or to carry out the
intent and effectuate the purposes of, any of the foregoing resolutions, and the fact
that the Board and the officers of the Company have taken any such action or
executed or delivered any such document or instrument shall be conclusive
evidence of the approval and authorization thereof by the Company;

FURTHER RESOLVED, that any and all actions heretofore, concurrently, or
hereafter taken by the Board and the officers of the Company in connection with
the matters contemplated by the foregoing resolutions be, and they hereby are,
approved, ratified and confirmed in all respects as fully as if such had been
presented to the Board for approval prior to such action or actions being taken;

FURTHER RESOLVED, that the actions taken by this written consent shall
have the same force and effect as if taken by the undersigned at a meeting, duly
called and constituted in accordance with the bylaws of the Company;

FURTHER RESOLVED, any and all notice of any meeting otherwise required
regarding these resolutions or the matters covered hereby is hereby waived in all
respects; and

FURTHER RESOLVED, that this consent may be sent or delivered by facsimile
or other electronic transmission and in any number of counterparts, each of which
shall be an original, and such counterparts, when taken together, shall constitute
one and same instrument, and shall be legally effective for all purposes.

[signature page follows]
Case 19-11299-LSS Doc1 Filed 06/10/19 Page 10 of 17

IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the
date first written above. _ a ,

  

 

By:

By:
Alexander E. Carles
Director

By:

 

Justin Vorwerk
Director

[SIGNATURE PAGE - SPORTCO HOLDINGS, INC. FILING RESOLUTION]
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IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the
date first written above.

By:

 

Bradley P. Johnson
Director

BY 5 2

Alexander E. Carles
Director

 

By:

 

Justin Vorwerk
Director

[SIGNATURE PAGE - SPORTCO HOLDINGS, INC. FILING RESOLUTION]
Case 19-11299-LSS Doc1 Filed 06/10/19 Page 12 of 17

IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the

date first written above.

By:

By:

By:

 

Bradley P. Johnson
Director

 

Alexander E. Casles /
Director t

Aly | - AL Le
Justin Vorwerk | ’ i”
Director :

[SIGNATURE PAGE - SPORTCO HOLDINGS, INC. FILING RESOLUTION]
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United States Bankruptcy Court
District of Delaware

Inre SportCo Holdings, Inc.

LIST OF EQUITY SECURITY HOLDERS

Debtor(s)

Case No.
Chapter 11

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of
business of holder

Andy Kupchik

Berne Ziomek

Chuck Walker

Hewitt Grant

Jim McCrudden
115 Bridgeport Lane
Lexington, SC 29072

Prospect Capital Corporation

10 East 40th Street, 44th Floor

Attn: General Counsel and Geoffrey Chang
New York, NY 10016

Prospect Capital Funding LLC

c/o Prospect Capital Corporation

10 East 40th Street, 44th Floor

Attn: General Counsel and Geoffrey Chang
New York, NY 10016

Summit Investors { (UK), LP
c/o Summit Partners, L.P.
222 Berkeley St., 18th FI.
Attn: Tod Hearle

Boston, MA 02116

Summit Investors I, LLC
222 Berkeley St., 18th FI.
222 Berkeley St., 18th FI.
Attn: Tod Hearle
Boston, MA 02116

Summit Partners Credit Fund A-1, L.P.
clo Summit Partners, L.P.

222 Berkeley St., 18th FI.

Attn: Tod Hearle

Boston, MA 02116

Sheet | of 2 in List of Equity Security Holders
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Security Class Number of Securities

Common Stock

Common Stock

Common Stock

Common Stock

Common Stock

Common Stock

Common Stock

Common Stock

Common Stock

Common Stock

6,000

500

339

3,393

679

210,749

8,192

25

168

64,499

Kind of Interest

Best Case Bankruptcy
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Inre: SportCo Holdings, Inc. Case No.
Debtor(s)

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

Name and last known address or place of Security Class Number of Securities Kind of Interest
business of holder

Summit Partners Credit Fund, L.P. Common Stock 60,855
c/ Summit Partners, L.P.

222 Berkeley St., 18th FI.

Attn: Tod Hearle

Boston, MA 02116

Summit Partners Credit Offshore Common Stock 4,336
Intermediate Fund, L.P.

c/o Summit Partners, L.P. - Tod Hearle

222 Berkeley St., 18th FI.

Boston, MA 02116

Todd Boehly Common Stock 10,000

Wellspring Capital Partners I.V. LP Common Stock 626,904
c/o Wellspring Capital Management LLC

390 Park Avenue, Lever House

New York, NY 10022

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.

Date June 10, 2019 Signature Bradley P. Johnson
Bradley P. Johnson

Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

List of equity security holders consists of 2 total page(s)
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United States Bankruptcy Court
District of Delaware

Inre SportCo Holdings, Inc. Case No.
Debtor(s) Chapter 11

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SportCo Holdings, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

Prospect Capital Corporation

10 East 40th Street, 44th Floor

Attn: General Counsel and Geoffrey Chang
New York, NY 10016

Wellspring Capital Partners I.V. LP

c/o Wellspring Capital Management LLC
390 Park Avenue, Lever House

New York, NY 10022

_]| None [Check if applicable]

06/10/2019 Christopher A. Ward

Date Christopher A. Ward
Signature of Attorney or Litigant
Counsel for SportCo Holdings, Inc.
Polsinelli PC

222 Delaware Avenue, Suite 1101
Wilmington, DE 19801
302.252.0922 Fax:302.252.0921
cward@polsinelli.com

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Fill in this information to identify the case:
Debtor name: SportCo Holdings. Inc.

 

United States Bankruptcy Court for the District of Delaware
(State)

Case number (if known):

C) Check if this is an
amended filing

Modified Form 204

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
the 30 Largest Unsecured Claims and Are Not Insiders

12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case.
Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

claims.
Name of creditor and complete mailing Name, telephone number, and email Nature of Indicate if Amount of secured claim
address, including zip code address of creditor contact the claim claim is If the claim is fully unsecured, fill in only
(for contingent, unsecured claim amount. If claim is
example, unliquidated, | partially secured, fill in total claim
trade debts, or disputed amount and deduction for value of
bank loans, collateral or setoff to calculate unsecured
professional claim.
services,
and
government
contracts)

Total Deduction Unsecured
claim, if | for value of Claim
partially | collateral or
secured setoff

I VISTA OUTDOOR Phone: (800) 694-5263 Trade Debt $3,299,326.61
1 ATK WAY
ANOKA, MN 55303

2 STURM RUGER RIFLES Phone: (203) 256-3866 Trade Debt $3,196,842.10
1 LACEY PL
SOUTHPORT, CT 06890

3 MAGPUL INDUSTRIES CORP. Phone: (303) 828-3460 Trade Debt $2,078,353.17
7201 COMMERCE CIRCLE
CHEYENNE, WY 82007

4 SAVAGE ARMS RIFLES Phone: (866) 233-4776 Trade Debt $1,927,392.50
118 MOUNTAIN RD
SUFFIELD, CT 06078

5 BUSHNELL CORP. Phone: (763) 852-8709 Trade Debt $1,879,795.66
9200 CODY
OVERLAND PARK, KS 66214

6 NAVICO COMPANY Phone: (800-) 324-0044 Trade Debt $1,743,684.04
12000 E SKELLY DR
TULSA, OK 74128

7 HENRY RAC HOLDING CORP. Phone: (201) 858-4400 Trade Debt $1,467,618.00
59 E ST STREET
BAYONNE, NJ 07002

8 SMITH & WESSON CORP. Phone: (413) 781-8300 Trade Debt $1,386,714.26
P.O. BOX 2208
SPRINGFIELD, MA 01102-2208

9 GARMIN USA, INC. Phone: (800) 800-1420 Trade Debt $1,150,579.41
1200 E. 1518" STREET
OLATHE, KS 66062-3426

10 | FLOCCHI OF AMERICA Phone: (800) 721-2666 Trade Debt $1,096,632.70
6930 N. FREEMONT RD
OZARK, MO 65721-8752

 

 

 

 

 

Modified Form 204

List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders

Pag
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11

FN AMERICA, LLC
1420 BEVERLY RD, SUITE200
MCLEAN, VA 22101

Phone: (703) 288-3500

Trade Debt

$1,089,614.01

 

12

MAGTECH AMMUNITION CoO. INC.
9100 WYOMING AVE NORTH
SUITE 515

BROOKLYN PARK, MN 55445

Phone: (763) 235-4000

Trade Debt

$1,056,806.25

 

13

REMINGTON ARMS COMPANY, LLC
870 REMINGTON DRIVE
MADISON, NC 27025-0700

Phone: (888) 736-4867

Trade Debt

$935,013.10

 

14

KEL-TEC CNC INDUS. INC,
1505 COX RD.
COCOA, FL 32923-6009

Phone: (321) 631-0068

Trade Debt

$912,769.50

 

HORNADY MANUFACTURING CO.
3625 OLD POTASH HWY
GRAND ISLAND, NE 68802

Phone: (308) 382-1390

Trade Debt

$897,319.66

 

LEUPOLD & STEVENS, INC.
14400 NW GREENBRIER PKWY
BEAVERTON, OR 97006

Phone: (503) 526-1477

Trade Debt

$734,782.02

 

HECKLER & KOCH, INC.
5675 TRANSPORT BLVD., STE. 200
COLUMBUS, OH 31907

Phone: (706) 568-1906

Trade Debt

$573,039.93

 

18

AMERICAN TECH NETWORK CO.
1314 SAN MATEO AVE. SOUTH
SO. SAN FRANCISCO, CA 94080

Phone: (800) 910-2862

Trade Debt

$560,334.09

 

19

BARRETT FIREARMS MFG.
P.O. BOX 1077
MURFREESBORO, TN 37133

Phone: (615) 896-2938

Trade Debt

$523,939.50

 

20

BROWNING ARMS COMPANY
ONE BROWNING PLACE
MORGAN, UT 84050-9326

Phone: (800) 234-2061

Trade Debt

$504,349.72

 

21

BLASER USA, INC.
403 EAST RAMSEY SUITE 301
SAN ANTONIO, TX 78216

Phone: (210) 377-2527

Trade Debt

$499,830.12

 

22

ARMSCOR PRECISION, INC,
150 N. SMART WAY
PAHRUMBP, NV 89060

Phone: (775) 537-1444

Trade Debt

$471,998.63

 

23

CHIAPPA FIREARMS USA, LTD.
1415 STANLEY AVENUE
DAYTON, OH 45404

Phone: (937) 835-5000

Trade Debt

$425,357.85

 

24

TR & Z USA TRADING CORP.
2499 MAIN STREET
STRATFORD, CT 06615

Phone: (203) 375-8544

Trade Debt

$417,882.92

 

25

WALTHER ARMS INC,
7700 CHAD COLLEY BLVD
FORT SMITH, AR 72917

Phone: (479) 646-4210

Trade Debt

$399,000.00

 

26

MAGNUM RESEARCH INC.
12602 33°” AVE., SW
PILLAGER, MN 56473

Phone: (508) 635-1450

Trade Debt

$299,153.30

 

27

FMK FIREARMS, INC,
1025 A. ORTEGA WAY
PLACENTIA, CA 92870

Phone: (714) 630-0658

Trade Debt

$298,996.70

 

28

BOND ARMS INC,

1820 SMORGAN

P.O. BOX 1296

GRANBURY, TX 76048-8296

Phone: (817) 573-4445

Trade Debt

$290,280.00

 

29

TRUGLO INC.
525 INTERNATIONAL PARKWAY
RICHARDSON, TX 75081-4413

Phone: (972) 774-0300

Trade Debt

$280,885.24

 

30

 

SCCY INDUSTRIES, LLC
1800 CONCEPT CT.
DAYTONA BEACH, FL 32114

 

Phone: (386) 322-6336

 

Trade Debt

 

 

 

 

$267,360.00

 

Modified Form 204

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